Case 9:25-cv-80197-DMM Document 1-3 Entered on FLSD Docket 02/11/2025 Page 1 of 8


AO140(Rev.*
          06/12)SummonsinaCivilAction

                               U NITED STATES D ISTRJCT COURT
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                                         Southem DistrictofFlorida         Zr
               BENJAMIN W ILLIAMS



                      Plaintiïls)
                          M.                                      CivilAction No.
   TRUMPMEDI A &TECHNOLOGY (TRUTH
SOCIAL),DONALD JTRUMP (PRESIDENT ELECT)


                     Defendantls)
                                         SUM M ONS IN A CIVIL ACTION
To:(nepndant'
            snameandaddresv PresidentElectnonald aTrump
                               M ar-a-uago
                               1100 S Ocean Blvd,Palm Beach,FL 33480
                               (561)832-2600
                               W hite House
                               1600 Pennsylvani
                                              a Ave NW ,W ashington,DC 20500
                               (202)456-1111
        A lawsuithasbeen filed againstyou.

       W ithin 21daysafterserkiceofthissummonsonyou (notcountingthedayyoureceivedit) or60daysifyou
are theUnited StatesoraUnited Statesagency,oran ofticeroremployee oftheUnited Statesdescribed in Fed.R.Civ.
P.12(a)(2)or(3)- youmustserveontheplaintiffananswertotheattachedcomplaintoramotionunderRule12of
theFederalRulesofCivilProcedure. -he answerormotion mustbeserved on theplaintifforplaintiffsattorney,
whosename and addressare:             ù      (         / (
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        Ifyoufailtorespond,judgmentbydefaultwillbeenteredagainstyou forthereliefdemandedinthecomplaint.
You alsomustfileyotlranswerormotionwith thecourt.


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Date:
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 Case 9:25-cv-80197-DMM Document 1-3 Entered on FLSD Docket 02/11/2025 Page 2 of 8



AO440(Rev.06/i2)SummonsinaCivilAction(Page2)
CivilAction No.

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                                                     y;
wasreceived by me on(date)

         O lpersonally served thesumm onson the individualat(place)


         O IIeftthesummonsatthe individual'sresidence orusualplace ofabodewith (name)
                                                     $aperson ofsuitableageand discretion who residesthere,
         on (date)                      ,and mailed a copy to theindividual'slastknownaddress;or
        O 1served thesllmmonson (nameofindividual)                                                         ,who is
        designated by 1aw to acceptsezviceofprocesson behalfof(hameoforganizotion)


        O 1retum ed thesumm onsunexecuted because

        O Other(spech):



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        Ideclare'underpenalty ofperjtuy thatthisinfonuationistrue.

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Additionalinfonuation regarding attempted service,etc:
Case 9:25-cv-80197-DMM Document 1-3 Entered on FLSD Docket 02/11/2025 Page 3 of 8


AO 440(Rev.06/12)SulmnonsinaCivilAction

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                BENJAM IN W ILLIAM S



                       maintels)
                           M.                                    CivilAction No.
   TRUMPMEDI A &TECHNOLOGY (TRUTH
SOCIAL),DONALD JTRUMP (PRESIDENT ELECT)


                      Defendantls)

                                          SUM M ONS IN A CIW L ACTION
To:(Depndant,snameandaddreas)Trump Media & TechnologyGroup
                             401 N.Cattleman Road,Sarasota FL 34232,
                                 300 N Cattlem en Rd,Sarasota,FL34232
                                 (954)6527637



        A lawsuithasbeen filed againstyou.

        W ithin21daysafterserviceofthissummonsonyou (notcountingthedayyoureceivedit)- or60daysifyou
aretheUnited StatcsoraUnited Statesagency,oran oft
                                                 iceroremployeeoftheUnited Statesdescribedin Fed.R.Civ.
P.12 (a)(2)or(3)- youmustserveontheplaintiffananswertotheattachedcomplaintoramotionunderRule12of
theFederalRulesofCivilProcedure.The answerormotion mustbeserved on theplaintifforplaintiffsattom ey,
whose name and addressare: '




        Ifyoufailtorespond,judgmentbydefaultwillbeentered againstyouforthereliefdemandedinthecomplaint.
You alsomusttileyouranswerormotionwith the court.


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 Case 9:25-cv-80197-DMM Document 1-3 Entered on FLSD Docket 02/11/2025 Page 4 of 8


AO 440(Rev.06/12) SummonsinaCivilAction(Page2)
 CivilAction No.

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         O lleftthesummonsatthe individual'sresidenceorusualplaceofabodewith (name)
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         on (date)   .                     ,   and mailed acopy to theindividual'slastknown address;or

         D Iserved thesllm monson (nameofindividual)                                                              ,who is
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         Ideclareunderpenalty ofperjurythatthisinfonnationistrue.

IRate:



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Additionalinformation regarding attempted service,etc:
         Case 9:25-cv-80197-DMM Document 1-3 Entered on FLSD Docket 02/11/2025 Page 5 of 8

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             SER VE         DonaldTrump
                 AT        ADDRESS(Stl
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                                                  tmentNo.,Citv,Statea/
                                                                      idZ1PCode)
                            1600 Pennsyl
                                       vania Ave NW ,W ashington,DC 20500
    SEND NOTICE OFSERVICECOPY TO REQW STER ATNAME AND ADDRESSBELOW                                                               Numberorprocesstobe
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    .1343 w W ashburneAve
     chicajo, IL 60608                                                                                                           servedi
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     bw.campaignzol8@ gmail.com                                                                                                  Checkforsenice
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    SignatureorAtlorneyotherOriginatorrequestingserviceonbehalfof:                                   TELEPHONENUM BER                                                   DATE
                                                                         Nx PLMNTIFF
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         Case 9:25-cv-80197-DMM Document 1-3 Entered on FLSD Docket 02/11/2025 Page 6 of 8

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    BenjaminW illiams
    DEFENDANT                                                                                                         TYPE OF PROCESS
    Trump Media TechnologyGroup.Donal
                                    d J Trump
                            NAM E OF INDIVIDUAL,COM PANY,CORPOM TION,ETC.TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
          SERVE              DepartmentofJusticeCivilDivision(DonaldTrump)
                 AT         ADDRESS(Stl'
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                                                    tntentNo.
                                                            ,CftvaStàteJlltlZ1PCode)
                            601 D StNW ,W ashington,DC 20530
    SENDNOTICEOFSERW CE COPY TO REQW STER ATNAME ANTD ADDRESSBELOW                                                    Numberofprocesstobe
     enlamln lIams                                                                                                    sen'edwiththisForm 285
    1343 w W ashburne Ave                                                                                             Numberofpm iestobe
    Chicago, IL 60608                                                                                                 sen,edinthiscase
    bw campaignzol8@ gmail.com                                                                                        Checkforsel
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    SPECIM INSTRUCTIONSOR OTHER INFORMATION THAT WILL ASSISTIN EXPEDITI
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    SignatureorAltorneyotherOriginalorrequestingserviceonbehalfof:                                    TELEPHON ENQJM BER                   DATE
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                                                                         773-490-2606            1/7/2025
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           Case 9:25-cv-80197-DMM Document 1-3 Entered on FLSD Docket 02/11/2025 Page 7 of 8

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    bw campaignzol8@ gmail.com                                                                                            Checkforselvice
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